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            Exhibit JJ
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    VA mandates COVID-19 vaccines among its medical employees including
                           VHA facilities staff

 WASHINGTON — July 26 Department of Veterans Affairs Secretary Denis McDonough announced he will make COVID-19
 vaccines mandatory for Title 38 VA health care personnel — including physicians, dentists, podiatrists, optometrists,
 registered nurses, physician assistants, expanded-function dental auxiliaries and chiropractors — who work in Veterans
 Health Administration facilities, visit VHA facilities or provide direct care to those VA serves.

 VA is taking this necessary step to keep the Veterans it serves safe.

 Each employee will have eight weeks to be fully vaccinated.

 “We’re mandating vaccines for Title 38 employees because it’s the best way to keep Veterans safe, especially as the Delta
 variant spreads across the country,” McDonough said. “Whenever a Veteran or VA employee sets foot in a VA facility, they
 deserve to know that we have done everything in our power to protect them from COVID-19. With this mandate, we can
 once again make — and keep — that fundamental promise.”

 The department’s decision is supported by numerous medical organizations including the American Hospital Association
 (https://www.aha.org/public-comments/2021-07-21-aha-policy-statement-mandatory-covid-19-vaccination-health-care),
 America’s Essential Hospitals (https://essentialhospitals.org/general/americas-essential-hospitals-urges-members-require-
 employee-vaccination/) and a Multisociety group of the leading Infectious Disease Societies.
 (https://www.cambridge.org/core/journals/infection-control-and-hospital-epidemiology/article/multisociety-statement-on-
 covid19-vaccination-as-a-condition-of-employment-for-healthcare-personnel/690D1804B72FFF89C5FC0AED0043AD62)
 The American Medical Association, American Nurses Association, American College of Physicians, American Academy of
 Pediatrics, Association of American Medical Colleges, and National Association for Home Care and Hospice also endorsed
 mandating COVID-19 vaccination for health care workers (https://www.hematology.org/newsroom/press-
 releases/2021/joint-statement-in-support-of-covid-19-vaccine-mandates-for-all-workers-in-health).

 In recent weeks, VA has lost four employees to COVID-19 — all of whom were unvaccinated. At least three of those
 employees died because of the increasingly prevalent Delta variant. There has also been an outbreak among unvaccinated
 employees and trainees at a VA Law Enforcement Training Center, the third such outbreak during the pandemic.
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All VA employees are eligible to be vaccinated at no personal expense at any of our facilities (https://www.va.gov/find-
locations/?facilityType=health&serviceType=Covid19Vaccine). Employees will also receive four hours of paid administrative
leave after demonstrating they have been vaccinated. Information in these FAQs (https://www.va.gov/health-care/covid-19-
vaccine/) or clinician and Veteran videos (https://www.va.gov/initiatives/have-questions-before-you-get-your-covid-19-
vaccine/) has details about the vaccine, its safety and effectiveness.

The safety and wellbeing of our Veterans and personnel is paramount.

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